                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )        Case No. 1:20-cr-051-01
 v.                                             )
                                                )        Judge Travis R. McDonough
                                                )
 VALERA DECKER                                  )        Magistrate Judge Susan K. Lee
                                                )


                                             ORDER



         Magistrate Judge Susan K. Lee filed a report and recommendation (Doc. 37)

 recommending that the Court: (1) grant Defendant’s motion to withdraw her not guilty plea as to

 Count One of the one-count Indictment; (2) accept Defendant’s guilty plea as to Count One; (3)

 adjudicate the Defendant guilty of Count One; (4) defer a decision on whether to accept the plea

 agreement until sentencing; and (5) order that Defendant remain in custody until sentencing in

 this matter (Doc. 56). Neither party filed a timely objection to the report and recommendation.

 After reviewing the record, the Court agrees with Magistrate Judge Lee’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation (Doc. 37) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

      1. Defendant’s motion to withdraw her not guilty plea as to Count One of the Indictment is

         GRANTED;

      2. Defendant’s plea of guilty to Count One is ACCEPTED;

      3. Defendant is hereby ADJUDGED guilty of Count One;

      4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and



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   5. Defendant SHALL REMAIN in custody until sentencing in this matter which is scheduled

      to take place on February 25, 2022 at 2:00 p.m. [EASTERN] before the undersigned.

   SO ORDERED.


                                         /s/Travis R. McDonough
                                         TRAVIS R. MCDONOUGH
                                         UNITED STATES DISTRICT JUDGE




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